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   6
     Attorneys for Defendant Twitter, Inc.
   7
                          UNITED STATES DISTRICT COURT
   8                     CENTRAL DISTRICT OF CALIFORNIA
   9 RICHARD JACKSON, JULIE                CASE NO. 2:22-cv-09438-AB (MAA)
 10 BRIGGS, and GREGG
    BUCHWALTER, Individually and on                 JOINT STIPULATION TO
 11                                                 EXTEND TIME TO RESPOND TO
    Behalf of All Others Similarly Situated,
 12                                                 INITIAL COMPLAINT
                Plaintiffs,
 13        vs.                                      [Filed concurrently with Declaration of
                                                    Tanya L. Greene and [proposed] order]
 14 TWITTER, INC., a Delaware
 15 corporation; GOOGLE, LLC, a limited             Complaint Served: January 20, 2023
    liability company; ALPHABET, INC., a            Current Response Date: February 10,
 16 Delaware corporation; META                      2023
 17 PLATFORMS, INC., a corporation                  New Response Date: April 11, 2023
    doing business as “META” and
 18 “FACEBOOK, INC.”; INSTAGRAM,
 19 INC., a Delaware corporation;
    AMAZON INC., a Delaware
 20 corporation; YOUTUBE INC., a
 21 Delaware corporation; APPLE, INC., a
    Delaware corporation; AMERICAN
 22 FEDERATION OF TEACHERS;
 23 NATIONAL EDUCATION
    ASSOCIATION; NATIONAL
 24 SCHOOL BOARD ASSOCIATION;
 25 DNC SERVICES CORPORATION, a
    corporation doing business nationwide
 26 as, “THE DEMOCRATIC NATIONAL
 27 COMMITTEE” OR “DNC,”
                 Defendants.
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                 JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
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   1         Plaintiffs Richard Jackson, Julie Briggs, and Gregg Buchwalter (collectively,
   2 “Plaintiffs”) and Defendant Twitter, Inc. (“Twitter”) (together, the “Parties”),
   3 through their respective counsel of record, hereby agree and stipulate as follows:
   4                                       RECITALS
   5         WHEREAS, Plaintiffs filed their initial Complaint on December 29, 2022;
   6         WHEREAS, Plaintiffs served the summons and Complaint on Twitter on
   7 January 20, 2023;
   8         WHEREAS, Twitter’s current response to the Complaint is due on or before
   9 February 10, 2023;
 10          WHEREAS, the Parties have conferred and agree that, to afford Twitter time
 11 to respond to the complaint, Twitter’s deadline to respond to the Complaint should
 12 be extended by sixty (60) days, up to and including April 11, 2023;
 13          WHEREAS, the Parties agree that this extension will not alter the date of
 14 any event or any deadline already fixed by Court order.
 15                                      STIPULATION
 16          THEREFORE, the Parties agree through their respective attorneys to the
 17 following:
 18          1.     Twitter’s deadline to respond to the Complaint shall be extended up to
 19 and including April 11, 2023.
 20 Dated: February 8, 2023            MCGUIREWOODS LLP
 21                               By: /s/ Tanya L. Greene
                                      Tanya L. Greene
 22
                                      Attorneys for Defendant Twitter, Inc.
 23
       Dated: February 8, 2023         LAW OFFICES OF MICHAEL E. REZNICK
 24
                                  By: /s/ Michael E. Reznick (as authorized on 02/08/23)
 25                                   Michael E. Reznick
 26                                   Attorneys for Plaintiffs Richard Jackson, Julie
                                      Briggs, and Greg Buchwalter, Individually and on
 27
                                      Behalf of All Others Similarly Situated
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                  JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
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   1                                    ATTESTATION
   2        Pursuant to Local Rule 5-4.3.4(a)(2), the filer attests that all other signatories
   3 listed, and on whose behalf the filing is submitted, concur in the filing’s content and
   4 have authorized the filing.
   5                                          /s/ Tanya L. Greene
                                              Tanya L. Greene
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                JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
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   1                            CERTIFICATE OF SERVICE
   2        I hereby certify that on February 8, 2023, I electronically transmitted the
   3 foregoing document to the Clerk’s Office using the CM/ECF System for filing and
   4 service via transmittal of a Notice of Electronic Filing.
   5        I declare under penalty of perjury under the laws of the United States of
   6 America that the foregoing is true and correct.
   7
                                             /s/ Tanya L. Greene
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                                             Tanya L. Greene
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                JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
